






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00439-CR






Jose Augustin Gutierrez Perez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. CR22,624, HONORABLE ED MAGRE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		After Jose Augustin Gutierrez Perez pleaded no contest to the charge of aggravated
sexual assault, the trial court found him guilty and assessed sentence at twenty years in prison.  Perez
filed a notice of appeal, and the trial court appointed counsel to represent him on appeal.

		Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that this appeal is frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
records demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate records and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed.

		We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  Counsel's motion to withdraw is
granted.  The judgment of conviction is affirmed.



						___________________________________________

						Jeff Rose, Justice

Before Justices Henson, Rose and Goodwin

Affirmed

Filed:   February 17, 2011

Do Not Publish


